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                       Exhibit 2
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                        MDL 2804
 OPIATE LITIGATION
                                                    Case No. 17-md-2804
 This document relates to:                          Hon. Dan Aaron Polster
                                                    Mag. Judge David A. Ruiz
 City of Cleveland, et al. v. Purdue Pharma
 L.P., et al., Case No. 18-OP-45132;

 County of Cuyahoga, et al. v. Purdue
 Pharma L.P., et al., Case No. 17-OP-
 45004;

 County of Summit, et al. v. Purdue Pharma,
 L.P. et al., Case No. 18-OP-45090



  PLAINTIFFS THE CITY OF CLEVELAND, COUNTY OF CUYAHOGA, COUNTY OF
  SUMMIT AND CITY OF AKRON’S SUPPLEMENTAL AMENDED RESPONSES AND
     OBJECTIONS TO THE MANUFACTURER DEFENDANTS’ FIRST SET OF
  INTERROGATORIES, SUBMITTED PURSUANT TO DISCOVERY RULING NO. 13


        Set out below, on behalf of Plaintiffs Cuyahoga and Summit Counties and the Cities of
Akron and Cleveland (“Plaintiffs”) is the supplemental response to the Manufacturer Defendants’
Interrogatory No. 6, which was the subject of Discovery Ruling 5, as amended by the Court on
October 16, 2018, and Discovery Ruling No. 13.

        While maintaining their objections to the interrogatories and to Discovery Ruling No. 5, as
set forth in Plaintiffs’ prior letters, briefing, and oral argument, Plaintiffs respond below. In
particular, and without waiving any other objections,

        This response is provided only with respect to the Bellwether jurisdictions listed above,
and is not binding on any other plaintiff in the MDL.

Manufacturer Interrogatory No. 6

        Identify and describe 500 prescriptions of opioids that were written in [Plaintiff’s
jurisdiction] in reliance on any alleged misrepresentations, omissions, or other alleged wrongdoing
by any Defendant. Include in the response the healthcare provider; the patient; the date of
prescription; which opioid or opioids were prescribed; the specific misrepresentation, omission, or
wrongdoing that allegedly caused the prescription to be written; the Defendant and the specific
sales representative(s), employee(s), or agent(s) of the Defendant that made or committed the

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alleged misrepresentation, omission, or wrongdoing; the person or persons to whom the alleged
misrepresentation or omission was made or to whom the alleged wrongdoing was directed; and
whether, by whom, and for how much the prescription was approved for reimbursement. Your
response must include at least 10 prescriptions for an opioid sold by each manufacturing defendant.

Plaintiffs’ Supplemental Amended Response:
         Bellwether Plaintiffs will not assert, either in expert opinions or factual presentations at
trial, that any specific prescription was caused by Defendants’ deceptive marketing. Plaintiffs
intend to rely, at trial and in expert opinions, on a theory of aggregate proof in asserting that
Defendants’ conduct violated the law and caused their damages and/or created a public nuisance,
as alleged more fully in their Complaints and proved at trial. Notwithstanding this response, and
solely for the purpose of preserving Plaintiffs’ right to present additional evidence in expert
opinions and at trial to address the harm alleged to Plaintiffs, as opposed to individuals, and to
address any contingencies that come to light during discovery, Bellwether Plaintiffs revise and
supplement their prior response to Manufacturer Interrogatory No. 6 as follows. This response
supersedes the prior response submitted by Plaintiffs.

         Plaintiffs reassert all objections and reservations in their prior responses and submissions
in response to Discovery Ruling No. 5 as if asserted here. Plaintiffs also note and preserve their
objections to being required to answer all of the interrogatories subject to Discovery Ruling 5, see
Plaintiffs’ Memorandum in Opposition to Manufacturer Defendants’ Motion to Compel
Compliance with Discovery Ruling No. 5, Doc. 1071 (Nov. 1, 2018).1 See Order Regarding
Discovery Ruling #5, Doc. 1047 (Oct. 16, 2018). Plaintiffs were authorized, under the Court’s
October 16, 2018 Order, to choose among the alternatives offered, and expressly preserve their
position that the Court’s Order Regarding Discovery Ruling #5 (Doc. 1047) is clear in this respect.
Each Interrogatory is a separate request, and Plaintiffs may choose to answer those related to the
harm caused by Defendants’ conduct, preserving their ability to present individualized proof of
these substantial harms, while relying solely on aggregate proof in proving the impact of
Defendants’ marketing on the prescribing and use of opioids. See Order Regarding Discovery
Ruling #5, Doc. 1047 (Oct. 16, 2018) (amending Discovery Ruling No. 5 “as follows: Instead of
answering the disputed interrogatories as required by the Discovery Ruling, Plaintiffs may instead
elect not to answer them on the condition that Plaintiffs instead categorically and affirmatively
respond to the disputed interrogatories by stating that: (1) they will not assert, either in expert
opinions or factual presentations at trial, that any specific prescriptions “were unauthorized,
medically unnecessary, ineffective, or harmful” or that “the filling of [any specific prescriptions]
that caused or led to harm for which [Plaintiffs] seek to recover,” and (2) Plaintiffs instead will
rely, at trial and in expert opinions, solely on a theory of aggregate proof.”) (footnote omitted);
Letter from M. Dearman, on behalf of Bellwether Plaintiffs, to Special Master David R. Cohen,
Re: In re National Prescription Opiate Litigation, MDL No. 2804, Plaintiffs’ Response In
Opposition to Manufacturer Defendants’ Motion to Compel Immediate and Full Compliance With
Discovery Ruling 5, dated November 14, 2018 (Nov. 26, 2018). This is especially true because
the other interrogatories that are the subject of Discovery Ruling 5 seek information about
prescriptions that were harmful or unnecessary, while Interrogatory 6 seeks information about the
extent to which doctors relied on Defendants’ wrongful conduct. Given that these are distinct

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    Unless otherwise noted, all references to “Doc. __” refer to the master docket in this MDL.
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subjects, relating to different elements of Plaintiffs’ claims, there is no reason why Plaintiffs should
be required to make the same election with respect to proof of the one subject as they make with
respect to proof of the others.

        Bellwether Plaintiffs further renew their objections to responding to this reformulated
interrogatory for the reasons laid out in their briefing and oral argument related to Discovery
Ruling 5 and in their Memorandum in Opposition to Manufacturer Defendants’ Motion to Compel
Compliance with Discovery Ruling No. 5. See Letter from M. Dearman, on behalf of Bellwether
Plaintiffs, to Special Master David R. Cohen, Re: In re National Prescription Opiate Litigation,
MDL No. 2804, Plaintiffs’ Response In Opposition to Manufacturer Defendants’ Motion to
Compel Immediate and Full Compliance With Discovery Ruling 5, dated November 14, 2018
(Nov. 26, 2018) and oral arguments on behalf of Bellwether Plaintiffs. Without narrowing or
limiting those objections here, Bellwether Plaintiffs note that Defendants have failed to answer the
same discovery request (Interrogatory No. 17 to the Manufacturer Defendants, and No. 21 for the
Purdue Pharma Defendants), yet demand Bellwether Plaintiffs do so without an adequate record
and/or the benefit of expert witness testimony. In addition, responding to this Interrogatory
requires Bellwether Plaintiffs to obtain and analyze information outside of Plaintiffs’ custody and
control. Pursuant to Federal Rule of Civil Procedure 33(d), this question can be answered, to the
extent practicable, from business records already produced to Defendants or within Defendants’
custody and control. Nonetheless, the Plaintiffs are complying with the Court order in good faith
and with the limitations laid out below.

         The discovery request is a contention interrogatory. “Contention” interrogatories seek to
clarify the basis for or scope of an adversary’s legal claims. Starcher v. Corr. Med. Sys., Inc., 144
F.3d 418, fn. 2 (6th Cir. 1998), aff'd sub nom. Cunningham v. Hamilton Cty., Ohio, 527 U.S. 198,
119 S. Ct. 1915, 144 L. Ed. 2d 184 (1999). To be clear, it is the position of the Plaintiffs answering
herein, that the answer to this contention interrogatory does not, consistent with Discovery Ruling
7, limit Plaintiffs’ experts from using different criteria to identify prescriptions written in reliance
on Defendants’ misrepresentations, omissions, or other wrongdoing, or from contending that there
are existing additional prescriptions that would be responsive, in addition to those identified herein.
Discovery Ruling No. 7, p. 6.

        Responding to this Interrogatory does not waive Bellwether Plaintiffs’ rights to prove their
claims, in whole or in part, through aggregate proof or statistical evidence. Bellwether Plaintiffs
reserve their rights to assert that the use of any individualized prescription information is
inappropriate, irrelevant, or inadmissible. See Report and Recommendation, In re: National
Prescription Opiate Litig., Case No. 1:17-MD-2804 (DAP), Doc. 1025 (N.D. Ohio) (Magistrate
Judge David A. Ruiz); In re Neurontin Litigation, 712 F.3d 21, 29-39 (1st Cir. 2013); United States
v. Life Care Centers of Am., Inc., 114 F. Supp. 3d 549 (E.D. Tenn. 2014); United States v. Life
Care Centers of Am., Inc., 1:08-CV-251, 2015 WL 10987029, at *3 (E.D. Tenn. Feb. 18, 2015);
Order Regarding Discovery Ruling No. 5, In re: National Prescription Opiate Litig., Case No.
1:17-MD-2804 (DAP), Doc. 1047 (N.D. Ohio). In short, by responding, Bellwether Plaintiffs do
not concede that this information is relevant or admissible.

       Further, Bellwether Plaintiffs also object to this Interrogatory as overly broad and unduly
burdensome as propounded. Plaintiffs object on the grounds that this Interrogatory seeks

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information not relevant to any party’s claim or defense or the legal theories in this case. Bellwether
Plaintiffs note that they are not representing or seeking recovery on behalf of any individuals who
were harmed by opioids or any payer of opioid prescription costs (other than Bellwether Plaintiffs);
nor have Plaintiffs alleged any claims for restitution for their own spending or other individual
claims that justify the burden of interrogatories this broad in scope. Plaintiffs further object to the
Interrogatory because they are not proportional to the needs of the case considering (1) the lack of
relevance or importance of the materials to the claims and defenses in this litigation, as described
above, and (2) the substantial burden they place on the Bellwether Plaintiffs to identify and describe
all individual prescriptions that would cause substantial harm to the privacy interests and rights held
by the individuals whose private medical files are the subject of this request. Plaintiffs further
object to the extent these interrogatories call for Confidential Information not in the Plaintiff’s
possession and protected by privacy laws, including but not limited to, the federal Health Insurance
Portability and Accountability Act (“HIPAA”) Title 42, Part 2 of the Code of Federal Regulations.

       In responding, Bellwether Plaintiffs disclaim any reliance on or reference to their own
claims data. Instead, Bellwether Plaintiffs rely upon other information produced by the parties in
discovery, and information obtained from public records and a Rule 45 subpoena.

        Bellwether Plaintiffs produce this highly sensitive identified health information subject to
the Special Master’s prior order limiting the disclosure of this information to Defendants’ attorneys
and their experts only and preventing the use of such information for further discovery without
separate order of the Court. See Track One Discovery Order Regarding Health-Related
Information, In re: National Prescription Opiate Litig., Case No. 1:17-MD-2804 (DAP), Doc. 703
(N.D. Ohio) (Special Master Cohen). Plaintiffs’ production of data in response to this
Interrogatory is subject to prior rulings limiting the disclosure and use of claims and health related
information.

        Despite repeated requests that Defendants provide prescription and sales tracking data,
Defendants have failed to produce all or, in some instances, any of that information. In addition,
to Plaintiffs’ knowledge, Defendants have not provided all or, in some instances, any documents
responsive to Request for Production No. 13 to the Manufacturer Defendants (No. 14 for the
Purdue Pharma Defendants), which seeks documents and data “regarding prescribing, sales,
distribution, use, consumer or medical community perceptions, insurance coverage of, or
diversion, misuse or abuse (including overdoses, hospitalizations, or other injuries or fatalities) of
Opioids . . .” When the Pharmacy Defendants refused to produce dispensing data, Bellwether
Plaintiffs raised the issue with Special Master Cohen, who issued Discovery Ruling 8, requiring
these Defendants to produce data related to the prescriptions they dispensed in the bellwether
jurisdictions. See Discovery Ruling No. 8, In re: National Prescription Opiate Litig., Case No.
1:17-MD-2804 (DAP), Doc. 1055, (N.D. Ohio) (Special Master Cohen). Plaintiffs have not yet
received that data from the majority of Defendants. Thus, because of Defendants’ own failure to
provide prescription-level data, Bellwether Plaintiffs are responding to this Interrogatory without
the benefit of full discovery.

        Bellwether Plaintiffs reserve the right to supplement these answers when or if Defendants
fully and proportionately respond to discovery and once expert reports and opinions are disclosed.



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        For the purposes of responding to this contention Interrogatory, and consistent with the
Court’s Order, Bellwether Plaintiffs have not attempted to identify every prescription that was
caused or influenced by Defendants’ unlawful, improper, and deceptive marketing, Plaintiffs, nor
all deceptive statements or omissions made to prescribers in the jurisdictions. Thus, identifying
prescriptions as written in reliance on Defendants’ misrepresentations, omissions, or other alleged
wrongdoing does not mean that these prescriptions were not also medically unnecessary or
unauthorized. Likewise, in contending that Defendants misrepresented the risk of addiction to
opioids (and identifying prescriptions to patients who developed opioid use disorder), Bellwether
Plaintiffs do not contend that Defendants only misrepresented the risk of addiction; they may also
have misrepresented the benefits or superiority of opioids, or understated other risks.

        Subject to and without waiving the foregoing objections and limitations, Bellwether
Plaintiffs contend that all prescriptions of opioids for chronic pain in the Bellwether Jurisdictions
were written in reliance on the misrepresentations, omissions, and wrongdoing alleged in their
complaints. Plaintiffs contend that, based on misrepresentations and omissions of material fact
regarding their products and opioids more generally, prescribers initiated and/or maintained patients
on opioids, often at increasingly and dangerously high doses, switched them to extended-release or
purportedly abuse-deterrent formulations, added immediate-release and/or rapid-onset opioids for
“breakthrough” pain, and failed to monitor for or recognize signs of addiction or abuse.
Defendants’ deceptive marketing also increased the comfort level of doctors and patients in
converting opioids prescribed for acute pain— surgery or injuries, for example— to long-term use
by patients who experienced or reported ongoing pain.

         As explained in the Bellwether Plaintiffs’ complaints, historically, opioids were used only
to treat short-term acute pain or for palliative (end-of-life) care because they were considered too
addictive and debilitating for the treatment of chronic pain, like back pain, migraines, and arthritis.
Purdue, joined by the other “Manufacturing” or “Marketing” Defendants, set out to change this
practice, and to maintain this shift with false and deceptive messages. As a doctor who became a
“key opinion leader” or “KOL” for Manufacturing Defendants, Dr. Russell Portenoy wrote in 1994
— before the launch of OxyContin and marketing campaign that attended it — the prevailing
attitudes regarding the dangers of long-term use of opioids were as follows:

               The traditional approach to chronic non-malignant pain does not
               accept the long-term administration of opioid drugs. This
               perspective has been justified by the perceived likelihood of
               tolerance, which would attenuate any beneficial effects over time,
               and the potential for side effects, worsening disability, and
               addiction. According to conventional thinking, the initial response
               to an opioid drug may appear favorable, with partial analgesia and
               salutary mood changes, but adverse effects inevitably occur
               thereafter. It is assumed that the motivation to improve function will
               cease as mental clouding occurs and the belief takes hold that the
               drug can, by itself, return the patient to a normal life. Serious
               management problems are anticipated, including difficulty in
               discontinuing a problematic therapy and the development of drug
               seeking behavior induced by the desire to maintain analgesic effects,

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                 avoid withdrawal, and perpetuate reinforcing psychic effects. There
                 is an implicit assumption that little separates these outcomes from
                 the highly aberrant behaviors associated with addiction.2

See Corrected Second Amended Complaint and Jury Demand, The County of Summit, Ohio, et al.
v. Purdue Pharma, L.P. et al., No. 18-op-45090 (“Summit/Akron SAC”) ¶ 406.3 According to
Dr. Portenoy, the foregoing problems could constitute “compelling reasons to reject long-term
opioid administration as a therapeutic strategy in all but the most desperate cases of chronic
nonmalignant pain.”4 Id.

        Given the history of opioid abuse in the U.S. and the medical profession’s resulting
wariness, the commercial success of the Marketing Defendants’ prescription opioids would not
have been possible without a fundamental shift in prescribers’ perception of the risks and benefits
of long-term opioid use. Defendants devoted massive resources to accomplishing and, as concerns
began to surface, to maintaining, this fundamental shift in perception. Each Defendant spent, and
some continue to spend, millions of dollars on promotional activities and materials that falsely
deny or trivialize the risks of opioids and overstate the benefits of opioids. Meanwhile, they also
promoted themselves as compassionate, concerned corporate citizens who sought to solve a public
health problem of undertreated pain while keeping their drugs out of the hands of “bad apple”
patients or others who might seek to divert them into illicit uses or channels.

        For example, and without waiving any additional conduct described in Bellwether
Plaintiffs’ Complaints or developed through investigation and/or discovery, Plaintiffs contend
Defendants disseminated these misrepresentations and omissions through:

         Sales representatives who visited prescribers in the Bellwether jurisdictions and through
          medical liaisons who responded to questions from these prescribers,5 and at programs and
          conferences that prescribers in the Bellwether jurisdictions attended. Visits and attendance
          at these programs are reflected in Defendants’ call notes, ride-along-reports, and other
          documents, along with the sales representations’ descriptions of these visits. In addition,
          Defendants’ marketing plans, scripts, talking points, FAQs, and similar documents
          Defendants provided to their sales representatives and medical liaisons also reflect the
          messages that Defendants directed their employees and key opinion leaders to provide.




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  Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress
in Pain Res. & Mgmt., 247-287 (H.L. Fields & J.C. Liebeskind eds., 1994) (emphasis added).
3
  For the sake of brevity, the Bellwether Plaintiffs have provided citations to the Summit/Akron
SAC only. The same allegations also appear in the respective Corrected Second Amended
Complaint and Jury Demands filed in County of Cuyahoga, et al. v. Purdue Pharma L.P., et al.,
Case No. 17-op-45004 and City of Cleveland, et al. v. Purdue Pharma L.P., et al., Case No. 18-op-
45132. The contentions cited herein are made by each of the Bellwether Plaintiffs.
4
  Id.
5
  This includes prescribers outside of the Bellwether jurisdictions whose prescribing caused the
Bellwether Plaintiffs damages or contributed to the public nuisance in the jurisdictions.
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       Publications and websites funded, published, edited, approved, and/or disseminated by
        Defendants that were provided to or visited by prescribers and patients in the Bellwether
        jurisdictions. These include, for example, Purdue’s “Partners Against Pain,” Janssen’s
        “Let’s Talk Pain,” books such as Mallinckrodt’s C.A.R.E.S. Alliance’s “Defeat Chronic
        Pain Now!,” Responsible Opioid Prescribing, and brand-specific leave behinds for
        Defendants’ drugs. These publications were handed out to prescribers by sales
        representatives, given out at programs, and featured in catalogs or lists of references
        promoted or distributed by Defendants.

     Continuing Medical Education (“CME”) and “speakers” programs. A CME is a professional
education program provided to doctors, dentists, pharmacies, pharmacists, nurses, and other
allied medical providers. These programs are delivered in person, often in connection with
professional organizations’ conferences, and online, or through written publications, and /or
contractual agreements with other Defendants. Doctors, dentists, pharmacies, pharmacists,
nurses, and other allied medical providers rely on CMEs not only to satisfy licensing
requirements, but also to get information on new developments in medicine or to deepen their
knowledge in specific areas of practice. Because CMEs typically are taught by KOLs who are
highly respected in their fields, and are thought to reflect these physicians’ medical expertise,
they can be especially influential with doctors. The Marketing Defendants sponsored CMEs that
were delivered thousands of times, promoting chronic opioid therapy and supporting and
disseminating the deceptive and biased messages described in the Bellwether Plaintiff’s
complaints. These CMEs, while often generically titled to relate to the treatment of chronic pain,
focus on opioids to the exclusion of alternative treatments, inflate the benefits of opioids, and
frequently omit or downplay their risks and adverse effects. Among Defendants’ specific
misrepresentations and omissions distributed to prescribers in the Bellwether jurisdictions, and
reserving the right to present additional misrepresentations and omissions identified through
discovery and expert reports and opinions, were claims that:

               a. The risk of addiction from chronic opioid therapy is low

               b. To the extent there is a risk of addiction, it can be easily identified and
                  managed

               c. Signs of addictive behavior are “pseudoaddiction,” requiring more opioids

               d. Opioid withdrawal can be avoided by tapering

               e. Opioid doses can be increased without limit or greater risks

               f. Long-term opioid use improves functioning

               g. Alternative forms of pain relief pose greater risks than opioids

               h. OxyContin provides twelve hours of pain relief

               i. New formulations of certain opioids successfully deter abuse

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Summit/Akron SAC ¶ 179. These nine categories of misrepresentations are offered to organize
the numerous statements the Marketing Defendants made and to explain their role in the overall
marketing effort, not as a checklist for assessing each Marketing Defendant’s liability. The
following chart identifies examples from the Bellwether Plaintiffs’ complaints, without waiving
the right to rely on or prove any additional conduct described in the complaint or developed
through investigation and/or discovery:

    Falsehood                       Explanation
    The risk of addiction from      When it launched OxyContin, Purdue cited in promotional
    chronic opioid therapy is low   and educational materials a single paragraph from a letter
                                    published in 1980 by Dr. Hershel Jick and Jane Porter in the
                                    New England Journal of Medicine as evidence of the low risk
                                    of addiction to opioids. In fact, Purdue included reference to
                                    this letter in a 1998 promotional video entitled, “I got my life
                                    back,” in which Dr. Alan Spanos states, “In fact, the rate of
                                    addiction amongst pain patients who are treated by doctors is
                                    much less than 1%.”
                                    Until April 2012, Endo stated on its website that “…patients
                                    treated with prolonged opioid medicines usually do not
                                    become addicted;” a statement echoed on the website of its
                                    close affiliate, APF. Endo also published and distributed
                                    multiple pamphlets and brochures downplaying addiction as
                                    it related to opioids. For example, “Living with Someone
                                    with Chronic Pain”, stated, "Most health care providers who
                                    treat people with pain agree that most people do not develop
                                    an addiction problem.6 Other publications, include but not
                                    limited to “Pain: Opioid Facts,” “Understanding Your Pain:
                                    Taking Oral Opioid Analgesics” and “Pain: Opioid Therapy.”
                                    Janssen claimed on its unbranded website –
                                    www.PrescribeResponsibility.com – that concerns about
                                    opioid addiction are “overestimated” and that “true addiction
                                    occurs only in a small percentage of patients.” Janssen also
                                    published a patient education guide entitled “Finding Relief:
                                    Pain Management for Older Adults” describing opioid
                                    addiction as a myth and that “many studies show opioids are
                                    rarely addictive…” which, until recently, was available
                                    online.
                                    Cephalon sponsored a 2007 publication from APF entitled
                                    “Treatment Options: A Guide for People Living with Pain”
                                    which taught that opioid addiction is rare.
                                    Actavis published material that claimed it is “less likely” to
                                    become addicted to opioids in those who “have never had an

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    Falsehood                          Explanation
                                       addiction problem.” The same publication notes that a need
                                       for a “dose adjustment” is the result of tolerance, and “not
                                       addiction.” A 2007 guide for prescribers published under
                                       Actavis’s copyright states that Kadian is more difficult to
                                       abuse and less addictive than other opioids.7
                                       Mallinckrodt created the C.A.R.E.S. (Collaborating and
                                       Acting Responsibly to Ensure Safety) Alliance in 2010 which
                                       promoted a book entitled “Defeat Chronic Pain Now!” in
                                       which opioids were stated to “rarely” cause addiction.
    To the extent there is a risk of   Purdue and Cephalon sponsored the APF’s publication,
    addiction, it can be easily        “Treatment Options: A Guide for People Living with Pain”
    identified and managed             in 2007, which falsely reassured patients that opioid
                                       agreements between doctors and patients can “ensure that
                                       you take the opioid as prescribed.” Janssen stated on its
                                       website – www.PrescribeResponsibly.com – that opioid
                                       addiction “can usually be managed” through tools such as
                                       opioid agreements between patients and doctors. Purdue also
                                       sponsored a 2011 webinar taught by Dr. Lynn Webster
                                       entitled “Managing Patient’s Opioid Use: Balancing the
                                       Need and Risk” wherein prescribers were told that screening
                                       tools, urine tests, and patient agreements have the effect of
                                       preventing “overuse of prescriptions” and “overdose deaths.”
                                       Endo paid for a 2007 supplement for continuing education
                                       credit in the “Journal of Family Practice” entitled “Pain
                                       Management Dilemmas in Primary Care: Use of Opioids”
                                       which recommended screening patients and the use of the
                                       Opioid Risk Tool.
    Signs of addictive behavior        Cephalon, Endo and Purdue sponsored the Federation of
    are “psuedoaddiction,”             State Medical Board’s (“FSMB”) publication entitled
    requiring more opioids             “Responsible Opioid Prescribing” in 2007 which stated that
                                       such behaviors as “requesting drugs by name,” “demanding
                                       or manipulative behavior,” seeing more than one doctor to
                                       obtain opioids and hoarding are all signs of
                                       “pseudoaddiction” (not genuine addiction).             Purdue
                                       published an unbranded pamphlet entitled “Clinical Issues in
                                       Opioid Prescribing” in 2005 which was circulated through
                                       2007 and available on its website through 2013. This
                                       pamphlet stated that “illicit drug use and deception” were not
                                       evidence of true addiction, but rather “pseudoaddiction.”
                                       Endo sponsored a CME program in 2009 entitled “Chronic
                                       Opioid Therapy: Understanding Risk While Maximizing
                                       Analgesia,” which promoted pseudoaddiction. Janssen
                                       sponsored, funded and edited a website entitled “Let’s Talk

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Falsehood                        Explanation
                                 Pain” which in 2009 stated that pseudoaddiction “…refers to
                                 patient behaviors that may occur when pain is
                                 undertreated…”
Opioid withdrawal can be         Endo sponsored an educational program entitled “Persistent
avoided by tapering              Pain in the Older Adult” which claimed that withdrawal
                                 symptoms could be avoided by simply tapering a patient’s
                                 opioid dose over ten days. Similarly, Purdue sponsored
                                 APF’s publication “A Policymaker’s Guide to Understanding
                                 Pain & Its Management” which taught that “[s]ymptoms of
                                 physical dependence can often be ameliorated by gradually
                                 decreasing the dose of medication during discontinuation.”
                                 Neither Defendant explained the significant hardships
                                 associated with cessation of use.
Opioid doses can be increased    Purdue omitted the increased risk of respiratory distress and
without limit or greater risks   death from increasing opioid dosage from its 2010 “Risk
                                 Evaluation and Mitigation Strategy” for OxyContin. Endo
                                 published on its website a patient education pamphlet entitled
                                 “Understanding Your Pain: Taking Oral Opioid Analgesics”
                                 that responds to the question, “If I take the opioid now, will
                                 it work later when I really need it?” with “The dose can be
                                 increased…You won’t ‘run out’ of pain relief.” Purdue and
                                 Cephalon also sponsored APF’s 2007 “Treatment Options: A
                                 Guide for People Living with Pain” which taught patients that
                                 opioids have “no ceiling dose” and are therefore safer than
                                 NSAIDs.
Long-term opioid use             Janssen promoted Duragesic through an ad campaign as
improves functioning             improving a patient’s functioning and work productivity.
                                 Janssen’s “Let’s Talk Pain” website featured a video
                                 interview claiming that opioids were what allowed a patient
                                 to “continue to function.” Similarly, Purdue ran a full-page
                                 ad for OxyContin in the Journal of the American Medical
                                 Association stating, “There Can Be Life With Relief” and
                                 implying that OxyContin would help users’ function;
                                 however the FDA noted that Purdue failed to warn that
                                 patients could die from taking OxyContin. Purdue also ran
                                 advertisements in medical journals in 2012 touting that
                                 OxyContin would help a “writer with osteoarthritis of the
                                 hands” work more effectively. Since May 2011, Endo has
                                 distributed and made available on its website –
                                 www.Opana.com – a pamphlet implying that patients with
                                 physically demanding jobs would achieve long-term pain
                                 relief and functional improvement. Mallinckrodt’s website
                                 claims that “[t]he effective pain management offered by our
                                 [opioids] helps enable patients to stay in the workplace, enjoy


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Falsehood                        Explanation
                                 interactions with family and friends, and remain an active
                                 member of society.”
Alternative forms of pain        Purdue and Cephalon sponsored APF’s publication entitled
relief pose greater risks than   “Treatment Options: A Guide for People Living with Pain”
opioids                          warning of increased risks if NSAIDs are “taken for more
                                 than a period of months;” falsely attributing 10,000 to 20,000
                                 deaths annually to NSAID overdoses when the figure is
                                 closer to 3,200. In 2009, Janssen sponsored a publication
                                 entitled, “Finding Relief: Pain Management for Older
                                 Adults” which listed dose limitations as “disadvantages” of
                                 other pain medicines. It also listed a number of serious health
                                 effects as disadvantages of NSAIDs while only listing “upset
                                 stomach or sleepiness” and constipation as disadvantages of
                                 opioids. Purdue and Endo sponsored a CME issued by the
                                 AMA in 2003, 2007, 2010 and 2013 entitled “Overview of
                                 Management Options” which taught that NSAIDs and other
                                 drugs, but not opioids, are unsafe at high doses.
OxyContin provides twelve        In 2000, Purdue advertised that OxyContin provides
hours of pain relief             “Consistent Plasma Levels Over 12 Hours;” however the
                                 oxycodone does not enter the body at a linear rate, releasing
                                 a greater proportion upon administration and gradually
                                 tapering over 12 hours. These 12-hour dosing advertisements
                                 ran in the Journal of Pain in February 2005 and the Clinical
                                 Journal of Pain in 2006.
New formulations of certain      Purdue presented an article in 2013 based on a review of data
opioids successfully deter       from poison control centers concluding that its ADF
abuse                            OxyContin can reduce abuse, but failed to acknowledge that
                                 abuse merely shifted to other drugs and that there were
                                 actually more harmful exposures to opioids after the
                                 reformulation. In 2016, Dr. J. David Haddox, VP of Health
                                 Policy for Purdue, falsely claimed that the evidence does not
                                 show Purdue’s ADF opioids are being abused in large
                                 numbers.
                                 Endo’s promotion of its Opana ER also tended to omit
                                 material facts according to a May 2012 letter from the FDA
                                 to Endo. Endo submitted a citizen petition asking the FDA
                                 for permission to label Opana ER as abuse-resistant, and also
                                 went so far as to sue the FDA to force expedited consideration
                                 of this change. Endo falsely promoted Opana ER as having
                                 been designed to be crush-resistant, knowing that this would
                                 (falsely) imply that it was actually crush-resistant and less
                                 likely to be abused (as stated in a June 14. 2012 press release).
                                 Endo initiated journal advertisements that appears in April
                                 2013 stating Opana ER was “designed to be crush resistant.”


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    Falsehood                       Explanation
                                    Likewise, Actavis copyrighted a guide for prescribers
                                    representing that Kadian is more difficult to abuse and less
                                    addictive than other opioids.8 Mallinckrodt promoted both
                                    Exalgo and Xartemis XR as specifically formulated to reduce
                                    abuse, going so far as to state, “XARTEMIS XR has
                                    technology that requires abusers to exert additional effort to
                                    extract the active ingredient from the large quantity of
                                    inactive and deterrent ingredients.”
    Endo: “[M]ost healthcare        This is demonstrably false and misleading.
    providers who treat patients
    with pain agree that patients
    treated with prolonged opioid
    medicines usually do not
    become addicted.” Taking a
    Long-Acting Opioid: What
    Does It Mean to Me (2008);
    Caregiver Booklet (2009).


        Further, public statements by the Defendants and their agents or proxies created the false
and misleading impression to regulators, prescribers, and the public that the Defendants rigorously
carried out their legal duties, including their duty to report suspicious orders and exercise due
diligence to prevent diversion of these dangerous drugs, and further created the false impression
that these Defendants also worked voluntarily to prevent diversion as a matter of corporate
responsibility to the communities their business practices would necessarily impact. Purdue serves
as a hallmark example of such wrongful conduct. At the heart of Purdue’s public outreach is the
claim that it works closely with law enforcement and government agencies to combat opioid abuse
and diversion. Mallinckrodt similarly claims to be “committed . . . to fighting opioid misuse and
abuse,” and further asserts that: “In key areas, our initiatives go beyond what is required by law.
We address diversion and abuse through a multidimensional approach that includes educational
efforts, monitoring for suspicious orders of controlled substances, . . . .” Additional public
statements were made on Defendants’ behalf by their trade associations, and other similar
statements assuring their continued compliance with their legal obligations, the Defendants not
only acknowledged that they understood their obligations under the law, but they further affirmed
that their conduct was in compliance with those obligations. See, e.g., Summit/Akron SAC ¶¶
594-606.

        In fact, however, Defendants failed to report suspicious orders and prescribers, prevent
diversion, or otherwise control the supply of opioids following into communities across America.
Despite the notice described above, and in disregard of their duties, Defendants continued to pump
massive quantities of opioids despite their obligations to control the supply, prevent diversion,
report and take steps to halt suspicious orders and report suspicious prescribers. See, e.g.,
Summit/Akron SAC ¶¶579-593.

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    ACTAVIS0690598.
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        In addition, as noted above, Bellwether Plaintiffs contend that these prescriptions were
written in reliance on the false, fraudulent, and misleading effort by Defendants to distort the
standard of care to favor prescribing opioids for chronic pain. As alleged in Plaintiffs’ Complaints,
Defendants funded, suggested, edited, cited, and distributed articles and publications written by
key opinion leaders, including Russell Portenoy, Scott Fishman, and Lynn Webster, which
deceptively represented the risks, benefits, and superiority of opioids for chronic pain. Similarly,
both directly and through these key opinion leaders, Defendants funded, influenced, edited, cited,
and distributed treatment guidelines, patient education materials, studies, and other publications in
ways that overstated the benefits of long-term opioid use and trivialized its risks. These included,
for example, the 1997 American Academy of Pain Medicine (“AAPM”) “consensus statement,”
which also formed the foundation of the Federation of State Medical Boards (“FSMB”) Model
Guidelines for the Use of Controlled Substances for the Treatment of Pain (“1998 Guidelines”),
the 2009 Guidelines issued by AAPM and the American Pain Society (“APS”), and the guidelines
for “Pharmacological Management of Persistent Pain in Older Persons” disseminated by the
American Geriatrics Society (“AGS”) in 2002 and 2009, and books such as A Clinical Guide to
Opioid Analgesia and Responsible Opioid Prescribing. Defendants also used existing guidelines,
like Pain as a Fifth Vital Sign and the World Health Organization’s cancer pain ladder to suggest
that opioids, including extended relief and rapid onset opioids, were an appropriate first line
treatment for chronic pain and that doctors, even outside of the hospital setting, should routinely
ask about and treat pain with their opioids. The CDC has recognized that treatment guidelines can
“change prescribing practices.”9

        As described in their Complaints, Bellwether Plaintiffs contend that Defendants hid their
involvement in these efforts, depriving prescribers of the ability to critically evaluate the
recommendations, and frequently misrepresented the strength or nature of the recommendations,
for instance, citing the AAPM/APS Guidelines without disclosing the lack of evidence to support
their conclusions, their involvement in the development of the Guidelines or their financial backing
of the authors of these Guidelines,” or citing a letter to the editor in the New England Journal of
Medicine as sole support for their assertion that patients rarely become addiction to opioids if it
were a credible, peer-reviewed study. 10 As one of Defendants’ KOLs, Dr. Portenoy later admitted:
“I gave so many lectures to primary care audiences in which the [letter to the editor in the New
England Journal of Medicine] was just one piece of data that I would then cite, and I would cite
six, seven, maybe ten different avenues of thought or avenues of evidence, none of which
represented real evidence.” 11
9
  Deborah Dowell, M.D., et al., CDC Guideline for Prescribing Opioids for Chronic Pain—
United States 2016, 65(1) Morbidity & Mortality Wkly. Rep. 1, 21 (Mar. 18, 2016) (hereinafter,
“CDC Guideline”), at 2.
10
   Jane Porter & Herschel Jick, M.D., Addiction Rare in Patients Treated with Narcotics, 302(2)
New Engl. J. Med. 123 (Jan. 10, 1980),
http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.
11
   Harrison Jacobs, This 1-Paragraph Letter May Have Launched the Opioid Epidemic, AOL
(May 26, 2016, 1:39 PM), https://www.aol.com/article/2016/05/26/letter-may-have-launched-
opioid-epidemic/21384408/. Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT
Rare, YouTube (Oct. 30, 2011).

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        Plaintiffs further contend that Defendants’ scheme was not a haphazard effort, but a
carefully orchestrated campaign designed to produce a return on their massive investment.
Defendants planned their messages in advance and expected their efforts to pay off in increased
prescriptions. For example, a marketing memo sent to Purdue’s top sales executives in March
1995 recommended that if Purdue could show that the risk of abuse was lower with OxyContin
than with traditional immediate-release narcotics, sales would increase. See Summit/Akron SAC
¶ 155. Internal documents also reflect that they monitored the success of their efforts. Internal
emails from Endo staff, for example, attributed increases in Opana ER sales to the aggressiveness
and persistence of sales representatives. As another example, according to an internal Janssen
training document, sales representatives were told that sales calls and call intensity have high
correlation to sales. See Summit/Akron SAC ¶ 490. Defendants also had detailed prescription
data from both third-party data vendors and financial arrangements with distributors that allowed
them to target their marketing to maximize its impact.

       Plaintiffs also note that the effects of sales calls on prescribers’ behavior is well
documented in the literature, including a 2017 study that found that physicians ordered fewer
promoted brand-name medications and prescribed more cost-effective generic versions if they
worked in hospitals that instituted rules about when and how pharmaceutical sales representatives
were allowed to detail prescribers. See Summit/Akron SAC ¶ 493. Studies also show that drug
marketing techniques are so refined and advanced that many prescribers persuaded by the
companies will not necessarily even recognize that they have been influenced. Thus, denial by a
physician that his or her prescribing conduct was influenced by Defendants’ statements and/or
omissions in no way establishes that there was no influence or reliance.

        Individually and, especially, collectively, these misrepresentations and omissions caused
prescribers and patients in the Bellwether jurisdictions to prescribe and take, respectively, opioids
in instances, at higher doses, and for durations that they would not have been considered prior to
Defendants’ deceptive marketing. Plaintiffs refer Defendants to the list of prescriptions previously
produced in connection with their October 24 2018 and November 1, 2018 submissions in response
to Discovery Ruling No. 5 and with their Amended Responses to the Manufacturer Defendants’
First Set of Interrogatories and the National Retail Pharmacy Defendants’ First Set of
Interrogatories, served November 2, 2018, as sufficient to identify and describe 500 prescriptions
of opioids that were written in each Plaintiff’s jurisdiction in reliance on any alleged
misrepresentations, omissions, or other alleged wrongdoing by any Defendant, including at least
10 prescriptions for an opioid sold by each manufacturing defendant. See Discovery Ruling No.
13 Regarding Various Matters at 7 (Doc. 1215) (“Plaintiffs have sufficiently identified the
connections between the prescriptions and misstatements at issue.”).

        As explained in Plaintiffs’ Amended Responses to the Manufacturer Defendants’ First Set
of Interrogatories and the National Retail Pharmacy Defendants’ First Set of Interrogatories,
served November 2, 2018, Bellwether Plaintiffs contend that each prescription in the previously-
provided Exhibit A was the result of Manufacturer Defendants’ deceptive marketing. Based upon a
review of relevant call notes, Bellwether Plaintiffs contend that Manufacturer Defendants
systematically omitted or misrepresented the risk of addiction, failed to accurately disclose the risk of
addiction, provided false assurance that addiction is rare among patients taking opioids for pain and/or

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can be identified or managed, and failed to disclose that the risk of addiction increased with longer
duration of opioid use or at higher doses, including, upon information and belief, to each of these
prescribers. In addition to sales representatives’ visits to prescribers, Manufacturer Defendants
communicated this misinformation through written publications, websites, and programs that were
available to or disseminated in the jurisdictions.12

       Exhibit A includes individuals who were prescribed reformulated OxyContin, Hysingla
ER, Opana ER, Exalgo, and Xartemis XR as abuse-deterrent formulations of Defendants’ opioids.
Bellwether Plaintiffs contend that the Manufacturers of these products systematically
misrepresented to prescribers that these products were actually abuse-deterrent, when they were
not approved as abuse-deterrent and did not actually deter abuse, misrepresented that these
products could not be tampered with or reduced abuse, and/or failed to disclose that abuse-
deterrent formulations had no impact on oral abuse, the primary means of abusing opioids.
        The prescriptions for Actiq, Fentora, and Subsys included in Exhibit A were prescribed to
individuals who did not have a recent diagnosis of cancer. Bellwether Plaintiffs contend that
Defendants Teva and Insys pervasively and unlawfully marketed Actiq, Fentora, and Subsys for
off-label use for chronic pain, and to doctors who did not regularly treat cancer pain, even though
the drugs were approved only for breakthrough cancer pain for opioid-experienced patients. Teva
and Insys failed to disclose that Actiq, Fentora, and Subsys were not approved or appropriate for
chronic pain, or were not to be used by opioid-naïve patients.13




Dated: December 31, 2018                              /s/ Linda Singer
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   In identifying specific deceptive statements, in addition to the description set forth above,
Bellwether Plaintiffs also incorporate by reference their 3rd Amended Responses to Manuf. 1st Set
of Interrogatories (10/8/2018) and the Response to Distr. 4th Set of Interrogatories (8/31/2018):
which describe specific statements made to identified prescribers in the jurisdictions, including
prescribers identified in Exhibit A.
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   Where Bellwether Plaintiffs have not provided information, such as prescription information for
individuals listed in Exhibit B, Plaintiffs do not presently have or have access to this information.
To the extent that such information becomes available to Bellwether Plaintiffs, Plaintiffs will
supplement this response.
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                                CERTIFICATE OF SERVICE


       I, David I. Ackerman, certify that on December 31, 2018, I caused the foregoing to be

served via electronic mail on Defendant’s Liaison Counsel pursuant to the Case Management

Order in this case (Dkt. No. 232).

                                                                         /s/ David I. Ackerman
